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11 S. BINDRA, VANESSA C. L. CHANG,
   RICHARD T. SCHLOSBERG, III,
12 LINDA G. STUNTZ, ELLEN O.
   TAUSCHER, PETER J. TAYLOR, and
13 BRETT WHITE and Nominal Defendant
   EDISON INTERNATIONAL
14
15                       UNITED STATES DISTRICT COURT
16                     SOUTHERN DISTRICT OF CALIFORNIA
17
18 IN RE EDISON INTERNATIONAL                Lead Case No. 3:15-cv-1581-BEN-KSC
   DERIVATIVE LITIGATION
19                                           NOTICE OF MOTION AND
                                             MOTION TO DISMISS
20                                           CONSOLIDATED
     This Document Relates to:               DERIVATIVE COMPLAINT
21
                 ALL ACTIONS.                [Memorandum of Points and
22                                           Authorities, Request for Judicial Notice,
                                             and Declaration of John M.
23                                           Gildersleeve filed concurrently]
24
                                             Date:    March 7, 2016
25                                           Time:    10:30 a.m.
                                             Ctrm:    5A
26                                           Judge:   Hon. Roger T. Benitez
27
28
              NOTICE OF MOTION AND MOTION TO DISMISS CONSOLIDATED DERIVATIVE COMPLAINT
                                                                      15CV01581-BEN-KSC
 1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2         PLEASE TAKE NOTICE that on March 7, 2016 at 10:30 a.m., or as soon
 3 thereafter as counsel may be heard, in the Courtroom of the Honorable Roger
 4 Benitez, located at 221 West Broadway, San Diego, CA 92101, Courtroom 5A,
 5 Nominal Defendant Edison International and Defendants Theodore F. Craver, Jr.,
 6 Jagjeet S. Bindra, Vanessa C. L. Chang, Richard T. Schlosberg, III, Linda G. Stuntz,
 7 Ellen O. Tauscher, Peter J. Taylor, and Brett White will and hereby do move to
 8 dismiss in its entirety the Consolidated Derivative Complaint in this action.
 9         This Motion is made pursuant to Rule 23.1 of the Federal Rules of Civil
10 Procedure on the ground that Plaintiffs did not make a demand before filing this
11 shareholder derivative action and such a demand is required and not excused.
12         This Motion is based on this Notice of Motion and Motion, the Memorandum
13 of Points and Authorities, Request for Judicial Notice, and Declaration of John M.
14 Gildersleeve filed concurrently, the pleadings and records on file in this action, and
15 such additional authority and argument as may be presented in Reply or at a hearing
16 on this Motion.
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               NOTICE OF MOTION AND MOTION TO DISMISS CONSOLIDATED DERIVATIVE COMPLAINT
                                                                       15CV01581-BEN-KSC
1 Dated: January 6, 2016            Respectfully submitted,
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                                    MUNGER, TOLLES & OLSON LLP
3                                     JOHN W. SPIEGEL
                                      JOHN M. GILDERSLEEVE
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                                      LAUREN C. BARNETT
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                                    SELTZER CAPLAN MCMAHON VITEK
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                                       ROBERT S. BREWER, JR.
7
                                    By:              s/ John W. Spiegel
8
                                                      John W. Spiegel
9
10                                  Attorneys for Defendants
                                    THEODORE F. CRAVER, JR., JAGJEET S.
11                                  BINDRA, VANESSA C. L. CHANG,
12                                  RICHARD T. SCHLOSBERG, III, LINDA G.
                                    STUNTZ, ELLEN O. TAUSCHER, PETER J.
13                                  TAYLOR, and BRETT WHITE and Nominal
14                                  Defendant EDISON INTERNATIONAL

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            NOTICE OF MOTION AND MOTION TO DISMISS CONSOLIDATED DERIVATIVE COMPLAINT
                                                                    15CV01581-BEN-KSC
 1                            CERTIFICATE OF SERVICE
 2               I hereby certify that on January 6, 2016, I electronically filed the
 3 below-listed documents via the Court’s Electronic Case Filing (ECF) system.
 4        1.     Notice of Motion and Motion to Dismiss Consolidated Derivative
                 Complaint
 5
          2.     Memorandum of Points and Authorities in Support of Motion to
 6               Dismiss Derivative Complaint
 7        3.     Request for Judicial Notice in Support of Motion to Dismiss Derivative
                 Complaint
 8
          4.     Declaration of John M. Gildersleeve in Support of Motion to Dismiss
 9               Derivative Complaint
10               I understand that notification of this filing will be sent to all counsel of
11 record in this matter who are registered on CM/ECF.
12
13
                              /s/ John M. Gildersleeve______
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               NOTICE OF MOTION AND MOTION TO DISMISS CONSOLIDATED DERIVATIVE COMPLAINT
                                                                       15CV01581-BEN-KSC
